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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION

MARGUERITE CARRUBBA                                                              PLAINTIFF

VERSUS                                                   CAUSE NO.: 1:07cv1238-LG-RHW

HARRISON COUNTY, MISSISSIPPI, ET AL.                                          DEFENDANTS


             PLAINTIFF’S MOTION TO COMPEL EXPERT DEPOSITIONS
                         BEFORE MOTIONS DEADLINE

                              Expedited Consideration Requested

       COMES NOW, Plaintiff, Marguerite Carrubba (“Plaintiff”), by and through his

undersigned counsel, and submits this Motion to Compel Defendant’s Expert’s Depositions

before the Motions Deadline, and would show unto the Court as follows:

       1.     On July 28, 2009, the Court re-set the Defendants’ expert designation deadline to

September 4, 2009. On August 4, 2009, the Court re-set the discovery deadline and Motions

deadline to October 1 and October 22, respectively.

       2.     On Friday, September 4, 2009, Payne filed a supplemental designation for Ken

Katsaris in which Katsaris rendered additional opinions regarding the incident with the Plaintiff

and the “custom and practice” of the Harrison Count Adult Detention Center. [Docket No. 161].

       3.     Following Labor Day, on Tuesday, September 8, 2009, Plaintiff, through counsel,

requested deposition dates for Katsaris. See Exhibit “A”. Plaintiff followed up the next day

with another request. Id. Next, on September 14, 2009, Plaintiff again requested deposition

dates for Katsaris. See Exhibit “B”.

       4.     On September 15, 2009, Payne responded to Plaintiff’s request with dates for

Katsaris in November. See Exhibit “C”. The deposition dates are more than a month following


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the discovery deadline (October 1) and well after the motions deadline (October 22). Plaintiff

responded with correspondence dated September 16, 2009 requesting deposition dates prior to

the discovery and motions deadline. See Exhibit “D”. This represents Plaintiff’s good faith

effort to resolve this discovery dispute without the necessity of Court intervention.

       5.      While Payne’s counsel has communicated to Plaintiff’s counsel that he would not

oppose the deposition being taken outside of the discovery period, this does not cure the

prejudice and problems of the situation.

       6.      Payne’s counsel has indicated that they will probably employ an affidavit from

the expert for use in a summary judgment motion before the motions deadline. Defendant’s use

of the expert in any summary judgment motion deadline outlines the urgency in Plaintiff’s

request to depose this expert.

       7.      Plaintiff would suffer substantial prejudice if Defendant is able to use this expert

in support of a summary judgment motion without Plaintiff’s having the opportunity to depose

such expert.   Plaintiff acted diligently in requesting deposition dates once the expert was

designated. Katsaris was designated on Friday, September 4, and while all offices were closed

on Monday, September 7 for Labor Day, Plaintiff began requesting deposition dates on Tuesday,

September 8 and continued requesting in the subsequent days. See Exhibits “A” and “B”.

       8.      Plaintiff requests the Court to enter an Order compelling the Defendant’s expert

to appear for deposition before either the discovery deadline or motions deadline.

       9.      Furthermore, Plaintiff requests that the Court grant her relief from the

unreasonable hourly fee requirements for the expert. Katsaris charges a minimum fee of $2,000

for a five (5) hour minimum, then $400 per hour over five (5) hours. This is excessive.

       10.     Fed. R. Civ. P. 26(b)(4)(C) requires an expert be paid a “reasonable fee for time



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spent in responding to discovery”. A minimum of $2,000 is not a reasonable fee, especially if

the deposition only takes two hours. Moreover, $600 an hour is an unreasonable request and

Plaintiff should not be made to pay such an unreasonable amount.

         11.   Finally, Plaintiff requests the Court to require the Defendant’s expert to travel

here for the deposition. Defendant’s expert requires the deposition to take place in Tallahassee,

Florida. The litigation is filed in Mississippi. Defendant’s choice to employ out-of-state expert

should not result in the requirement that Plaintiff should have to travel out of this state. Plaintiff

is the master of the Complaint and forum. Defendant’s expert should be required to be deposed

in Mississippi, as opposed to Florida.

         12.   Pursuant to Local Rule 37.1, attached is the Good Faith Certificate. See Exhibit

“E”.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff, Marguerite Carrubba, requests

that this Honorable Court enter an Order compelling the Defendant to produce its experts Ken

Katsaris for deposition before the discovery deadline, or in the alternative, before the motions

deadline. Plaintiff further requests the Court to require the expert to charge reasonable fees and

for the deposition to be conducted in Mississippi, and further relief that this Honorable Court

deems necessary.




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     This, the 28th day of September, 2009.

                                         Respectfully Submitted

                                         MARGUERITE CARRUBBA, Plaintiff

                                         BY: BROWN BUCHANAN, P.A.


                                         BY: _ /s/ Mark V. Watts_________
                                               PATRICK R. BUCHANAN
                                               MARK V. WATTS

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                                 CERTIFICATE OF SERVICE
       I, the undersigned, do hereby certify that I have this day electronically filed a true and

correct copy of the foregoing pleading with the Clerk of Court using the ECF system which sent

notification to such filing to the following counsel of record:

       Joe Crawford Gewin                     Ian A. Brendel                  Karen Jobe Young
       Haley N. Broom                         Jim Davis, P.A.                 Meadows Law Firm
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       Dated, this the 28th day of September, 2009

                                              _/s/Mark V. Watts_______________
                                              PATRICK R. BUCHANAN
                                              MARK V. WATTS


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